1                                                                              Judge Timothy Dore
 1
                                                                                       Chapter 13
22

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4
 5                     IN THE UNITED STATES BANKRUPTCY COURT
5                FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 6
67   In re:                                            No.: 18-12259

78   CAROL ENGEN ,                                     Adv. Proceeding No.

89                    Debtor(s),                       COMPLAINT OBJECTING TO CLAIM OF
10
                                                       THE UNITED STATES, DEPARTMENT
9                                                      OF THE TREASURY, INTERNAL
11   CAROL ENGEN                                       REVENUE SERVICE
10              Plaintiff
12

11
13   Vs.

12
14   United States Department of the
     Treasury, Internal Revenue Service
15
13                   Defendant
16
14
17
              Comes now the Plaintiff/Debtor, Carol Engen, by and through her attorney, Larry
15
18
     B Feinstein, and for objection to the Amendment No. 1 to Proof of Claim filed by the
16
19
     Department of the Treasury, Internal Revenue Service, [hereinafter “IRS”] dated August
20
17
     1, 2018, complains and states as follows:
21
18            1. The plaintiff filed a petition for relief under Chapter 13 of the Bankruptcy
22
19               Code on or about June 6, 2018, and is a debtor in those proceedings.
23
                 [Hereafter either “Plaintiff” or “Engen”.]. This court has jurisdiction to hear this
20
24
                 matter under 26 U.S.C. §157. This is a core proceeding under 26 U.S.C.
21
25
                 §157(b)(2).
26
22            2. The defendant, Unites States Department of the Treasury, Internal Revenue
27
23               Service, filed a Proof of Claim in those proceedings on or about June 14,
28
24
     IRS Complaint                                                                Vortman & Feinstein
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25                                                                                       206-223-9595
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 1             2018, and that said Claim was amended by Amended Claim #1 on or about
22             August 2, 2018.

33          3. By line item in the Amended Proof of Claim, the Plaintiff objects to the
 4             Amended Proof of Claim as follows:
4
 5                   a.   Objection is made to Secured Claim line 1 of the IRS Proof of Claim
5
 6                        for Tax Period 12/31/2004 entitled “civil pen” (assumption this
67                        refers to 26 USC §6702) for a total of $33,769.52 because:
78                        1. The assessment is time barred pursuant to 26 CFR

89                           301.6501(c)-1(c). The final assessment date for a 2004 tax
10                           year is 4/15/2008 (26 CFR 301.6501(c)-1(c)). The assessment
9
11                           date claimed by the Government is 9/01/2008. Transcripts
10
12                           furnished by the government indicate four additional §6702
11
13                           penalty claims were assessed by the IRS for the tax year 2004.
12
14                           All the dates are after 4/15/2008. Therefore, all penalty
15
13                           assessments for 2004 are time barred pursuant to §6501 and its
16                           regulations;
14
17                        2. The plaintiff made no submission(s) that would support the
15
18                           assessment of §6702 penalties against Engen. Engen did not
16
19                           file a tax return for 2004 as she did not have income sufficient to
20
17                           require the filing of a return;
21                        3. Notwithstanding ¶2, if such a submission(s) was made, the
18
22                           plaintiff was not given an opportunity to withdraw any
19
23                           submission under §6702(b), and that therefore before the
20
24                           penalty may be assessed, the Plaintiff has not been given the
21
25                           opportunity to withdraw any such submission, if made.
26
22                        4. Notwithstanding ¶2 and ¶3 above, if any such submission(s)
27                           were made, all such submissions have been revoked and
23
28                           rescinded in writing to the IRS.
24
     IRS Complaint                                                            Vortman & Feinstein
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 1                        5. The IRS did not issue any written management approval for the
22                           assessment of any penalties, which is required in order to

33                           assess a §6702 penalty for a frivolous tax submission pursuant
 4                           to 26 U.S.C. §6751(b)(1).
4
 5                        6. Engen had no taxable income in 2004 therefore there were no
5
 6                           amounts due for taxes that a penalty could be added to as
67                           required by §6651(a).
78

89                   b.   Objection is made to Secured Claim line 2 of the IRS Proof of Claim
10                        for Tax Period 12/31/2005 entitled “income” for a total of
9
11                        $13,283.00 tax due, $13,991.55 penalty and $9,258.54 interest
10
12                        because:
11
13                        1. The income tax assessment is time barred because of 26
12
14                           U.S.C. §6501. The final assessment date for a 2005 tax year is
15
13                           4/15/2009 (26 CFR 301.6501(c)-1(c)). The assessment date
16                           claimed by the Government is 6/1/2009,
14
17                        2. The income tax assessed was time barred therefore there were
15
18                           legally no tax amounts due that a penalty could be added to as
16
19                           required by §6651(a).
20
17                        3. Any other returns or submissions made by Plaintiff for tax year
21                           2005 that purported to show income or tax liability is incorrect,
18
22                           and any such submissions were revoked and rescinded in
19
23                           writing by plaintiff.
20
24

21
25                   c.   Objection is made to Secured Claim line 3 of the for the Tax Period
26
22                        12/31/2005 entitled “civil pen” (assumption this refers to 26 USC
27                        §6702) in the amount of $34,185.44 penalty and $11,823.56
23
28                        interest because:
24
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 1                   1. The IRS Proof of Claim indicates that the 2005 tax year
22                        penalties were assessed on 4/14/2005 but the United States

33                        filed a response into the underlying bankruptcy case entitled
 4                        UNITED STATES RESPONSE TO OBJECTION TO PROOF
4
 5                        OF CLAIM OF THE INTERNAL REVENUE SERVICE
5
 6                        (“RESPONSE”), incorporated herein. That filing on page 7
67                        admitted the penalty assessed on 4/14/2008 was paid. The cut-
78                        off date for assessing penalties for the 2005 tax year is

89                        4/15/2009 (26 CFR 301.6501(c)-1(c)). The two penalties and
10                        interest assessed on 8/30/2010 and 9/6/2010 tax year 2005 are
9
11                        time barred pursuant to §6501 and its implementing regulations,
10
12                   2. The penalty assessed on 9/6/2010 for $15,000.00 exceeds the
11
13                        statutory allowed amount of the penalty by $10,000.00 and is
12
14                        therefore unlawful (§6702 mandates a $5000,00 penalty, not
15
13                        $15,000.00), and should be disallowed;
16                   3. The plaintiff did not make any submission(s) as required by
14
17                        §6702 or no requests for hearing have been made by plaintiff
15
18                        that would support the assessment of §6702 penalties against
16
19                        Engen;
20
17                   4. The IRS did not obtain written management approval prior to
21                        making said penalty assessments, which is required in order to
18
22                        assess a §6702 penalty for a frivolous tax submission pursuant
19
23                        to 26 U.S.C. §6751(b)(1)
20
24                   5. Notwithstanding ¶3, if Plaintiff did make any such submission(s),
21
25                        Plaintiff was not given an opportunity to withdraw any
26
22                        submission that the IRS deemed to be frivolous, as required
27                        under §6702(b), if such submissions were made, and that
23
28                        therefore the penalty(s) must be denied.
24
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 1                        6. Regardless of the above, if any such submissions were made,
22                           all such submission were revoked and rescinded in writing by

33                           the plaintiff.
 4                        7. The civil penalties for this line item depend on the tax amount
4
 5                           due in line 2 above. Line item 2 is time barred. Therefore, the
5
 6                           civil penalties in line 3 have no tax amounts due that a penalty
67                           can be added to as required by §6651(a)
78

89                   d.   Objection is made to the Secured Claims at line 4 for the Tax
10                        Period of 2006 entitled “civil pen” (assumption this refers to 26 USC
9
11                        §6702) in the amount of $40,006.00 penalty and interest of
10
12                        $13,342.86 which because:
11
13                        1. The $40,006.00 and its interest is a cumulative amount. The
12
14                           Penalty claims for 2006 consisted of a $15,000.00 penalty
15
13                           assessment on 3/2/2009, a $5,000.00 penalty assessment on
16                           8/30/2010, and a $20,000.00 penalty assessment on 9/6/2010.
14
17                           The cut-off date for assessment for the 2006 tax year is
15
18                           4/15/2010 (26 CFR 301.6501(c)-1(c)). For that reason the
16
19                           penalty claims for 8/30/2010 and 9/6/2010 are time barred
20
17                           pursuant to §6501.
21                        2. The penalty assessment on 3/2/2009 for $15,000.00 exceeds
18
22                           the §6702 statutory allowed amount by $10,000. The
19
23                           assessment on 9/6/2010 while time barred, also exceeds the
20
24                           §6702 statutory allowed amount by $15,000.00. These
21
25                           amounts are in excess of the allowed §6702 statutory amount
26
22                           and must be denied.
27                        3. Plaintiff made no submission(s) that would support the
23
28                           assessment of §6702 penalties against Engen.
24
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 1                        4. Notwithstanding ¶3, is any such submissions were made, all
22                           such submissions were revoked and rescinded by the plaintiff in

33                           writing.
 4                        5. Plaintiff was not given an opportunity to withdraw any
4
 5                           submission(s), if any, that the IRS determined to be frivolous
5
 6                           under §6702(b), and therefore the penalty(s) must be denied.
67                        6 The IRS did not obtain written management approval prior to
78                           issuing said penalty(s), which is required in order to assess a

89                           §6702 penalty for a frivolous tax submission pursuant to 26
10                           U.S.C. §6751(b)(1).
9
11                        7 Engen had no taxable income for 2006, therefore, there are no
10
12                           tax amounts due for the penalty to be added to as required by
11
13                           §6651(a).
12
14

15
13                   e.   Objection is made to the Secured Claim at line 5 for the Tax Period
16                        of 2007 for “income” tax for the amount of $5,896.06 and interest of
14
17                        $2,345.45 because:
15
18                        1. Engen earned a total of $2,381.25 in tax year 2007 and had no
16
19                           other income. The 2007 income is well below any filing
20
17                           requirements and no tax was due. Therefore, the tax of
21                           $5,896.06 reported by the IRS incorrect. Because the IRS claim
18
22                           is in error for this line item, the entire tax due claim and interest
19
23                           is without merit and must be denied.
20
24                        2. Any return or submission that shows a different amount or
21
25                           different earnings or income (interest & dividends) are incorrect,
26
22                           and have been revoked and rescinded in writing. Therefore this
27                           portion of the claim should be denied..
23
28
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 1                   f.   Objection is made to the Secured Claim at line 6 for the Tax Period
22                        of 2007 entitled “civil pen” (assumption this refers to 26 USC

33                        §6702) in the amount of $45,000.00 plus $13,782.50 interest
 4                        because:
4
 5                        1. The $45,000.00 total penalty amount is a cumulative amount
5
 6                             with assessment dates of 11/24/2008 for $5,000.00, 12/1/2008
67                             for $5,000.00, 2/28/2011 for $30,000.00 and 5/23/2011 for
78                             $5,000.00. The cut-off date for assessing a tax for 2007 tax

89                             year is 4/15/2011 (26 CFR 301.6501(c)-1(c)). The penalty
10                             assessed on 5/23/2011 is time barred (§6501) and must be
9
11                             denied.
10
12                        2.    The penalty assessed on 2/28/2011 for $30,000.00 exceeds
11
13                             the §6702 statutory limit by $25,000.00 and must be reduced or
12
14                             denied for exceeding the statutory limit.
15
13                        3. The Plaintiff filed no submission(s) that would support the
16                             assessment of §6702 penalties against Engen. Notwithstanding
14
17                             same, if such submission(s) were made, all such submissions
15
18                             were revoked and rescinded in writing.
16
19                        4. No written management approval was issued, which is required
20
17                             in order to assess a §6702 penalty for a frivolous tax submission
21                             pursuant to 26 U.S.C. §6751(b)(1);
18
22                        5. The IRS did not give the Plaintiff an opportunity to withdraw any
19
23                             submission that the IRS deemed to be frivolous under §6702(b),
20
24                             and that therefore before the penalty may be assessed, the
21
25                             Plaintiff has to be given the opportunity to withdraw any such
26
22                             submission(s), if made.
27
23
28
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 1                        6. Engen had no amounts due for taxes in 2007 due to her
22                           earnings below the filing threshold. There must be an amount

33                           due in order to assess a penalty as required by §6651(a).
 4
4
 5                   g.   Objection is made to the IRS Proof of Claim at line 7 for the Tax
5
 6                        Period of 2008 entitled “civil pen” (assumption this refers to 26 USC
67                        §6702) in the amount of $10,000.00 and interest of $3,832.79
78                        because:

89                        1. Engen did not work in tax year 2008 and was not required to file
10                           any returns. Engen made no submission(s) under §6702.
9
11                        2. No written management approval was executed to assess the
10
12                           frivolous penalties, which is required in order to assess a §6702
11
13                           penalty for a frivolous tax submission pursuant to 26 U.S.C.
12
14                           §6751(b)(1);
15
13                        3. The IRS did not give the Plaintiff an opportunity to withdraw any
16                           submission(s) that the IRS deemed to be frivolous under
14
17                           §6702(b), and before the penalty may be assessed, the Plaintiff
15
18                           has to be given the opportunity to withdraw any such
16
19                           submission, if made, which was not done.
20
17                        4. Engen had no taxable income for 2008, therefore, there are no
21                           tax amounts due for any penalty to be added to as required by
18
22                           §6651(a).
19
23
20
24                   h.   Objection is further made to the Civil Penalties at line 1 for Tax
21
25                        Period 2004, line 3 for Tax Period 2005, line 6 for Tax Period 2007
26
22                        and line 7 for Tax Period 2008 because the IRS is relying upon
27                        account and penalty transcripts. Every single penalty transcript
23
28                        dated line item indicates wherever a §6702 penalty was assessed
24
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 1                        that the event triggering for the penalty is: “IRC 6702 Penalty for
22                        Filing Frivolous Tax Return.” Therefore, each penalty assessed

33                        must be associated with the filing of a corresponding return on a
 4                        specific date. No returns were filed on the dates corresponding to
4
 5                        the IRS Response to Objection to Claim filed herein, which are
5
 6                        incorporated by reference on the Chart (pages 5-6), no such
67                        returns were filed for tax periods 2004, 2006 and 2008 allowing for
78                        such frivolous assessment.

89
10                   i.   For tax period 2004, one IRS transcript indicates three returns were
9
11                        filed; another transcript indicates four returns. Four separate
10
12                        penalties were assessed. No such returns were filed, and the
11
13                        penalty(s) should be denied. Plaintiff did not file any tax returns for
12
14                        2004.
15
13
16                   j.   For tax period 2005, one IRS transcript indicates two returns were
14
17                        filed and two IRS transcripts indicate three returns were filed. Six
15
18                        separate penalties were assessed. No such returns were filed, and
16
19                        the penalty(s) should be denied; and if such returns were filed, all
20
17                        such returns were revoked and rescinded in writing.
21
18
22                   k.   For tax period 2006, one IRS transcript indicates four returns were
19
23                        filed, one being a duplicate. Another IRS transcript indicates five
20
24                        returns were filed, one being a duplicate. Three penalties were
21
25                        assessed. No such returns were filed, and the penalty(s) should be
26
22                        denied.
27
23
28
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 1                   l.   For tax period 2007, all IRS transcripts indicate four returns were
22                        filed with two being duplicates. Four penalties were assessed. No

33                        such returns were filed, and the penalty(s) should be denied.
 4
4
 5                   m.   For tax period 2008, all IRS transcripts indicate no returns were
5
 6                        filed, but two penalties were assessed for filing frivolous tax returns.
67                        The penalties should be denied.
78

89                   n.   Therefore all taxes, penalties and interest for these tax periods
10                        should be disallowed.
9
11
10
12                   o.   Objection is made to all “timely assessments” of “income taxes” and
11
13                        section 6702 penalties by a “duly authorized delegate of the
12
14                        Secretary of the Treasury” because this alleged delegate or
15
13                        delegates has not been identified making it impossible to verify their
16                        credentials and authority. Until this information has been supplied,
14
17                        the allegation is not a fact, and the assessments should be denied.
15
18

16
19                   p.   Notwithstanding all separate objections made to the IRS Claim as
20
17                        amended for “assessments” of taxes and penalties owed, an all
21                        encompassing objection is made to all alleged assessments due to
18
22                        violations of 26 USC §§ 6201 and 6203 by IRS employees:.
19
23                               1. Pursuant to 26 USC §6201 and the regulations
20
24                                  thereunder, the Secretary is authorized and required to
21
25                                  make the assessments of all taxes which have not been
26
22                                  duly paid at the time and in the manner provided by law.
27                               2. Engen contacted the Secretary via a Privacy Act request
23
28                                  for records of all debts owed to the United States
24
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 1                                 government and received a response that there are no
22                                 delinquent accounts in the Secretary’s records with

33                                 regards to Engen for the tax years 2004 through 2008.
 4                              3. Furthermore, to make a valid assessment under Section
4
 5                                 6203 the IRS must record the assessment on a signed
5
 6                                 summary record of assessment and create a supporting
67                                 record which includes all the elements referred to in the
78                                 associated regulation. The date of the assessment is the

89                                 date the summary record is signed by an assessment
10                                 officer. No signed assessment records with regards to
9
11                                 any of the tax periods at issue were made.
10
12                              4. §6203 also provides that upon request, the Secretary
11
13                                 shall furnish the taxpayer with the record of assessment.
12
14                                 A 2009 FOIA request made by Engen for such records
15
13                                 for tax periods 2004 through 2008 returned a response
16                                 indicating there are no assessment records on file for
14
17                                 those tax periods.
15
18                              5. Therefore, since a valid assessment is a condition
16
19                                 precedent for collection, the entire IRS claim is
20
17                                 unauthorized and must be disallowed.
21
18
22                   q.   Objection is made to Proof of Claim attachment “Internal Revenue
19
23                        Service Facsimile Federal Tax Lien Document,” pages 6 and 7,
20
24                        “Total” $33,496.00 and $63,578.38 respectively, because the
21
25                        “Authorizing Official: DEBRA K. HURST Title: ACS W&I 12-00-
26
22                        0000” does not display an employee identification number that
27                        comports with the appointment affidavit(s) obtained by Engen
23
28                        pursuant to a FOIA request. Said FOIA response states that the
24
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 1                        individual, a “DEBRA K. CLAXTON,” no longer works at the IRS.
22                        Until the date of separation is known and the credentials can be

33                        authenticated, these Notice of Lien filings are unauthorized for tax
 4                        periods 2005 and 2006 and must be disallowed.
4
 5
5
 6                   r.   Objection is made to Claim attachment “Internal Revenue Service
67                        Facsimile Federal Tax Lien Document,” pages 8, 9 and 12, “Total”
78                        $134,802.85, 67,945.54 and $36,929.55 respectively, because the

89                        “Authorizing Official: EVELYN SMITH 27-02-4325 Title: REVENUE
10                        OFFICER” has not been sufficiently identified by the IRS. A Dec.
9
11                        18, 2017 FOIA request submitted by Engen as to this individual’s
10
12                        credentials and authority was responded to by an IRS disclosure
11
13                        office with an appointment affidavit which has the name of the
12
14                        individual completely whited out, making it impossible to ascertain
15
13                        who the appointment pertains to. Until the authority, credentials
16                        and legal name of “EVELYN SMITH” are revealed and
14
17                        authenticated these “Total” amounts are unauthorized for tax
15
18                        periods 2004, 2005, 2006, 2007 and 2008 and must be disallowed.
16
19

20
17                   s.   Objection is made to Claim attachment “Internal Revenue Service
21                        Facsimile Federal Tax Lien Document,” pages 10 and 11, “Total”
18
22                        $35,378.49 and $35,378.49 respectively, because the “Authorizing
19
23                        Official: RONDA WRIGHT Title: REVENUE OFFICER 27-02-4325”
20
24                        has not been sufficiently identified by the IRS. A Jan. 30, 2018
21
25                        FOIA response allegedly for this individual has the name
26
22                        completely whited out on all responsive documents making it
27                        impossible to ascertain who the documents pertain to. Until the
23
28                        authority, credentials and legal name of “RONDA WRIGHT” are
24
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 1                        revealed and authenticated these “Total” amounts are unauthorized
22                        for tax period 2005 and must be disallowed.

33
 4                   t.   The penalties, as set forth in the Proof of Claim, as Amended No. 1,
4
 5                        are “additions to tax under Subchapter A of Chapter 68 of the
5
 6                        I.R.C.” The controlling code section is §6651(a) which requires that
67                        an amount of tax must first be due in order to add a penalty to it.
78                        Engen did not have any taxable income for tax periods 2004

89                        through 2008, other than noted previously for 2005, and therefore
10                        no amounts are due because §6651(a) mandates that penalties be
9
11                        added to tax amounts due. This single statute alone causes all
10
12                        penalties for these tax periods to be outside the requirements of the
11
13                        statutes and must be denied.
12
14

15
13                   u.   The income tax claim in 2007 is objected to. Engen earnings are
16                        below the requirement to file a return. Further, a Nov. 2, 2010
14
17                        “Record of Account” transcript obtained by Engen shows zero
15
18                        wages for the 2007 tax period. The amount shown on the transcript
16
19                        is listed as computer generated. The income tax claim and the
20
17                        penalties for 2007 must be denied.
21
18
22                   v.   The Plaintiff did have a pension distribution for 2005, which was
19
23                        income and may have required a return being filed and taxes due.
20
24                        The IRS failed to timely assess the income tax in 2005 and
21
25                        therefore under §6501 and §6651(a)), the claims are barred and
26
22                        must be denied.
27
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 1          Therefore the entire claim that the IRS has made against Engen should be
22   denied.

33          Dated this 29th day of October, 2018.
 4
4
                                        /s/ Larry B Feinstein
 5
5                                       ___________________________________
 6                                      Larry B Feinstein, WSBA #6074
67                                      Attorney for Plaintiff

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                                   DECLARATION OF CAROL ENGEN
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12          Carol Engen, duly sworn upon oath under the laws of the State of Washington,
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13   declares and states under penalties of perjury, that she has read the foregoing
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14
     complaint, is familiar with the facts contained therein, and that to the best of her
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13
     knowledge and belief, all the facts and allegations contained in the above complaint are
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14
17   true and correct.
15
18          Dated is _31___ day of October, 2018.
16
19

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17          ___________________________________________
            Carol Engen, Plaintiff
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     IRS Complaint                                                             Vortman & Feinstein
     Page 14 of 8                                                       929 108th Ave. NE, Ste 1200
25                                                                                    206-223-9595
                                                                                 Fax: 206-386-5355
26
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